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                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


                               MINUTES OF PROCEEDINGS
 NEWARK                                                           DATE: March 1, 2018
 COURT REPORTER: Joanne Sekella
 DEPUTY CLERK: Carmen D. Soto                                     Docket #09-1303
 TITLE OF CASE: UNITED STATES v. MATTHEW HULL, ET AL.
 Appearances:
 Michael Campion, Esq. for the Govt
 Jordan Anger, Esq. for the Govt
 Spencer B. Robbins, Esq. for Dft

 NATURE OF PROCEEDING: MOTION/SHOW CAUSE HEARING

 Hearing on Pltf’s Motion for an Order to Show Cause as to why Deft’s should not be found in
 Contempt of Court [Dkt. No. 119];
 Ordered motion denied without prejudice;
 Parties to resolve issue by 3/31/18;
 Order to be submitted.




 Time Commenced: 11:10 a.m.
 Time Adjourned:      11:30 a.m.
 Total Time: 20 mins.

 Cc: Chambers                                      Carmen D. Soto
                                                   Deputy Clerk
